       Case 2:19-cv-04073-JFW-RAO                Document 258           Filed 03/25/20   Page 1 of 1 Page ID
                                                      #:2679
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                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
SA MUSIC, LLC and WILLIAM                                          CASE NUMBER
KOLBERT, AS TRUSTEE OF THE
HAROLD ARLEN TRUST,                                                   2:19-cv-4073(JFW)(RAO)
                                                   Plaintiff(s),
                        v.
APPLE, INC., ISOLATION NETWORK
                                                                         NOTICE OF DISMISSAL PURSUANT
INC., GENEPOOL DISTRIBUTION LTD.,
                                                                          TO FEDERAL RULES OF CIVIL
and IDEAL MUSIC LIMITED,
                                                                              PROCEDURE 41(a)
                                                 Defendant(s).

PLEASE TAKE NOTICE: (Check one)

    ✔ This action is dismissed by the Plaintiff(s) in its entirety.
    G

    G The Counterclaim brought by Claimant(s)                                                                    is
      dismissed by Claimant(s) in its entirety.

    G The Cross-Claim brought by Claimants(s)                                                                    is
      dismissed by the Claimant(s) in its entirety.

    G The Third-party Claim brought by Claimant(s)                                                               is
      dismissed by the Claimant(s) in its entirety.

    G ONLY Defendant(s)

         is/are dismissed from (check one) G Complaint, G Counterclaim, G Cross-claim, G Third-Party Claim
         brought by                                                                                          .

    The dismissal is made pursuant to F.R.Civ.P. 41(a) .




     March 25, 2020                                        /s/
                Date                               Matthew F. Schwartz * Pro Hac Vice
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CV-09 (03/10)          NOTICE OF DISMISSAL PURSUANT TO FEDERAL RULES OF CIVIL PROCEDURE 41(a)
